        Case 1:21-cr-00392-RCL Document 146 Filed 08/01/22 Page 1 of 2




Dyke Huish (SBN: 167690)
Huishlaw@mac.com
LAW OFFICE OF DYKE E. HUISH
26161 Marguerite Pkwy., St. B
Mission Viejo, CA 92692
Telephone: (949) 837-8600

Attorney for Defendant, RUSSELL TAYLOR


                       UNITED STATES DISTRICT COURT

                             DISTRICT OF COLUMBIA



  THE UNITED STATES OF                          Case No. 1:21-CR-00392-RCL
  AMERICA,
                                                REQUEST FOR AN ORAL HEARING
               Plaintiff,                       RE THE MOTION TO MODIFY
        vs.                                     RELEASE CONDITIONS
                                                JUDGE: ROYCE C. LAMBERTH
  RUSSELL TAYLOR,
               Defendants.




Mr. Taylor is requesting a hearing at the Courts earliest availability in order to
determine his prior request to modify release conditions.

On June 17, 2022, Mr. Taylor made a motion to modify his release conditions due to
medical issues involving his ankle monitoring system. On June 24, 2022, the Court
made an Order that the matter be set on July 28, 2022, concurrently with the
previously set status hearing. On July 28, 2022, the status hearing was continued to
September 12, 2022. However, this issue was not heard nor reset. Mr. Taylor’s
condition is worse, and he is requesting an oral hearing as soon as is practicable to
determine his request.

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        Case 1:21-cr-00392-RCL Document 146 Filed 08/01/22 Page 2 of 2




Counsel for Mr. Taylor can also represent that he has spoken to the Government’s
attorney who also is requesting that this matter be heard at an oral hearing.




Dated: August 1, 2022                         LAW OFFICE OF DYKE E. HUISH


                                              /s/Dyke E. Huish
                                              Attorney for Russell Taylor




                                              2
